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                                                                                        FILED
                                                                                 U.S. DlSTF;lCT COURT
                                                                               DISTRICT OF NEDf{;~SK.6
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA                       2020 SEP 2L} PM 4: 28
UNITED STATES OF AMERICA,                                                      OFF_lCE OF THE CLERK
                    · Plaintiff,                                      8:20CRi4 \

       vs.                                                         INDICTMENT

LINDSEY L. BIXBY,                                                  18 u.s.c. § 242

                       Defendant.


       The Grand Jury charges that
                              .     '

                                           COUNT!

        On or about March 4, 2016, in the District of Nebraska, the defendant, LINDSEY L.

BIXBY, while employed as a trooper with the Nebraska State Patrol, while.acting under color of

law, did willfully deprive B.D., a private citizen, of a right secured and protected .by the

Constitution and laws of the United States, namely, the right to be free from unreasonable force

by a law enforcement officer. Specifically, the defendant LINDSEY L BIXBY, struck B.D. with

the buttstock of his patrol issued rifle. This offense involved the use of a dangerous weapon and

resulted in bodily injury to B.D.

       ~ violation of Title 18, United States Code, Section 242.



                                                   A TRUE BILL.




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       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.




                                            By:




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